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EXHIBIT B

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FLSA»854

December 20, 1985

'l`his is in response to your letter othme 20 in which you request an opinion as to whether salad bar and
dining room set-up are duties related to a tipped occupation within the meaning of section 3(111) of the
Fair Labor Standards Act (FLSA). We regret the delay in responding to your inquiry.

As outlined in your letter and in a conversation with a member of my steffen Novembez‘ 26, **"‘ owns
and operates several *** restaurants throughout the United States. *** regularly open to the public at ll
a.rn. Generally, you state, two to felix walters or waitresses work each day in each restaurant One walter
or waitress is assigned with opening iesponsibilities from 9:00 or 9:30 am.. to ll:()(l a.m. 'I`hese opening
responsibilities are as follows:

(l) lnspeet dining room including windows and sills.

(2) Check dining room lights

{3) Set themiostat.

(4) Cheok tables and align table bases

(5) Check high chairs/booster seats

(6) Set tables

('7) Set table arrangers.

(8) Clean and fill shakers.

(9) Clean/replaee ashtrays.

(l(l) Stock waitress station with glasses, cups5 mugs, and pitchers.

(l l) Check supplies of napkins, sugar, straws, etc.

(12) Check supply and cleanliness of plates, salad plates and silverware.

(13) Set up three (3) compartments, glass washing sinlc.

(14) Checlc beverage dispensers

(15) Prepare tea.

(16) At opening, prepare coffee

l. Cut and clean vegetables for salad har.
2. Clean and sanitize saeeze shield on salad bar.

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l. (l9) hill salad bar crooks with refrigerated and dry items
(20) Place vinegar and oil cruets at end of salad bar.
(Zl) Place pannesan shaker on salad bar.
(22) if iced salad bar, fill icc bin.

You state that typically the walter or waitress with opening responsibilities works until 2 p.rn. Any other
waitresses working the lunch shift do not report until l0:30 or l 1100 a.m.

You state that a small portion of the 1.5 to 2 hour set»up time is spent in preparing vegetables for the
salad ban You state that the salad bar preparation is a related duty in a tipped occupation you cited
Opinion Letter `No. 1554 (WH~»SOZ) in which the Adminisuator of the Wage and Hour Division found
that duties such as cleaning and restocl<ing the waitress station, refilling shakers, cleaning and resetting
tables and vacuuming the carpet as performed by waitresses after hours constitute tipped employment
within the meaning of Regulations 29 CFR Part 53l.

in support oi` your position you also cite section 531.56(e) of29 CFR Part 53 l. You compare the
preparation of the salad bar to the preparation of short orders as performed by counter persons

'lhe FLSA is the Federal law of most general application concerning wages and hours of work. Under
FLSA all covered and nonexempt employees must be paid not less than the minimum wage rate of S3.35
an hour for all hours worked and not less than one and one-hall`tirnes their regular rates of pay for all
hours worked over 40 in a workweelc.

As explained in section 3(m) of FLSA, tips received by tipped employees may be counted by an
employer in an amount up to 40% of the applicable minimum wage A "tipped employee“ is defined in
section B(t) of FLSA as an employee engaged in an occupation in which he or she regularly receives not
less than $30 a month in tips.

Section 531.56(e) deals with tipped employees who are performing dual jobs As explained in this
section, when an individual is involved in a tipped occupation and a montipped occupation, the tip credit
is available only for the hours spent in the tipped occupation For example, when a mahitenance person
in a hotel also serves as a walter or waitress, the tip credit is available only for the hours worked as a
walter or waitress

The legislative history of the 1974 amendments of FLSA (in particular, page 43 of Senate Report No.
93-960, February 22, l974) indicates that employees who "customarily and regularly" receive tips are
waiters, waitresses, bell pcrsons, counter persons, bus help, and service bartenders lt also indicates that
janitors, dishwashers, chefs, and laundry room attendants are not tipped employees lt is our opinion that
salad preparation activities are essentially the activities performed by chefs and no tip credit may be
taken for the time spent in preparing vegetables for the salad bar. Enclosed is a copy of an opinion letter
which contains a detailed discussion of this position

Also as explained in section 531.56(e), the tip credit may be taken for time spent in duties related to the
tipped occupation even though such duties need not by themselves be directed toward producing tips.
For example, a walter or waitress who spends part of his or her time cleaning and setting tables, toasting
bread, making coffee, and occasionally washing dishes or glasses may continue to be engaged in s
tipped occupation even though the duties listed above are not tip-producing Therei`ore, tip credit could

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be taken for non-salad bar preparatory work or atter»hours clean~up if such duties are incidental to the
waiter or waitress regular duties and are assigned generally to the waiter/Waitress staff. However, where
the facts indicate that specific employees are routinely assigned to maintenance~type work or that tipped
employees spend a substantial amount of time in performing general preparation work or maintenance,
we would not approve a tip credit for hours spent in such activities

In the situation you describe, only one waiter or waitress is assigned to perform all preparatory activities
The opening walter or waitress' responsibilities extend to the entire restaurant rather than to the specific
area or customers which they serve. Furtherrnore, the activities petitioned prior to the opening of the
restaurant consume a substantial portion of the walter or waitress' workday. Although you have stated
that a waiter or waitress may work an eight~hour shift, typically they work a five-hour shift from 9 a.m.
to 2 p.m. 'l`he 1.5 to 2 hours of preparatory time constitutes 30% to 4()% of the employees workday

'I`herefore, based on the information you have provided, it is our opinion that no tip credit may be taken
for the hours spent by an assigned waiter or waitress in opening responsibilities

`We trust that the above is responsive to your inquiry.
Sincereiy,

Herbert .l`. Cohen

Deputy Administrator

Enclosure

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